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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


DERRICK COLES, on behalf of himself and on
behalf of all others similarly situated,

       Plaintiffs,
                                                     Case No. 8:17-cv-829-T-17-AEP

v.


STATESERV MEDICAL OF FLORIDA, LLC,
THE STATESERV COMPANIES, LLC, and
STATESERV MEDICAL, LLC,

      Defendants.
______________________________________ /

     JOINT MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT AND
                   NOTICES TO SETTLEMENT CLASS

       COME NOW Plaintiff Derrick Coles (“Plaintiff” or “Coles”), on his own behalf and all

similarly situated individuals, and Defendants StateServ Medical of Florida, LLC, The

StateServe Companies, LLC, and StateServ Medical LLC (collectively, “Defendants”) and,

pursuant to Federal Rule of Civil Procedure 23, file their Joint Motion for Preliminary Approval

of Settlement and Notices to Settlement Class, respectfully states as follows:

I.     NATURE AND STAGE OF PROCEEDING

       In his Amended Class Complaint (the “Complaint”), Coles alleges that Defendants willfully

violated the disclosure and authorization provisions of the Fair Credit Reporting Act (“FCRA”) in

15 U.S.C. § 1681b(b)(2)(A)(i)-(ii) by obtaining consumer/background reports on Coles and

employees/prospective employees during the period beginning April 13, 2012 and continuing until




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March 1, 2016,1 without first disclosing to them in a separate disclosure solely containing the

statutory language, and included additional language not permitted under the FCRA.

           On December __, 2017, the Court certified the following class:

           All employees and job applicants of StateServ Medical of Florida, LLC, The
           StateServe Companies, LLC, StateServ Medical LLC, and any of their affiliates,
           related companies, agents and owners (the “StateServ Entities”), who were the
           subject of a consumer report procured by StateServ Medical of Florida, LLC, The
           StateServe Companies, LLC, or StateServ Medical LLC (“Defendants”) within
           five years of the filing of the complaint through the date of final judgment based
           upon disclosure authorization forms substantially similar to Exhibits A and B.

           The parties engaged in extensive settlement negotiations beginning with an initial mediation

on August 2, 2017 and concluding with a second mediation on October 27, 2017. The parties’

efforts culminated in settlement of the class as defined by the Court. The parties thereafter executed

a Settlement Agreement attached to this motion as Exhibit 1 (the “Agreement”).

           The Class consists of 541 members to be paid from the Gross Settlement Fund ONE

HUNDRED SEVENTY-TWO THOUSAND FIVE HUNDRED DOLLARS AND NO/100

($172,500.00). This is a “claims paid” settlement. Each Class member who does not opt out will

automatically receive his or her check after final approval. The amount received by each Class

member is subject to reduction for attorneys’ fees, litigation expenses and administration expenses.

           Defendants and Class Counsel attorneys agree that Class Counsel’s attorneys’ fees and

litigation expenses shall not exceed not to exceed thirty-three and one third (33.33%) percent of

the Gross Settlement Fund if approved by the Court. Defendants and Class Counsel attorneys agree

that administration expenses shall not exceed TWELVE THOUSAND FIVE HUNDRED AND

NO/100 ($12,500.00.




1
    At this time, Defendants began using a different CRA and disclosure form that is not at issue in this case.

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II.     STATEMENT OF ISSUES

        The issues before the Honorable Court are (a) whether to approve the Agreement on a

preliminary basis, and (b) whether to approve the Notice of Proposed Class Action Settlement for

distribution to members of Class.

III.    STANDARDS FOR PRELIMINARY APPROVAL OF CLASS ACTION
        SETTLEMENTS

        Under Federal Rule of Civil Procedure 23(e), the “claims, issues, or defenses of a certified

class may be settled, voluntarily dismissed, or compromised only with the court’s approval.” Fed.

R. Civ. P. 23. “In determining whether to approve a proposed settlement, the cardinal rule is that

the District Court must find that the settlement is fair, adequate and reasonable…”                   In re:

Corrugated Container Antitrust Litigation, 643 F.2d 195, 206 (5th Cir. 1981); Cotton v. Hinton, 559

F.2d 1326, 1330 (5th Cir. 1977);2 see also Fed. R. Civ. P. 23(e)(2).

        A strong presumption exists in favor of a settlement’s fairness. Parker v. Anderson, 667

F.3d 1201, 1209 (5th Cir. 1982); Cotton, 559 F.2d at 1331. Settlements are “highly favored” and

“will be upheld whenever possible because they are a means of amicably resolving doubts and

preventing lawsuits.” Miller v. Republic Nat’l Life Ins. Co., 559 F.2d 426, 428 (5th Cir. 1977). The

public policy favoring settlement agreements is particularly strong in complex class action litigation

where voluntary pretrial settlements obviate the need for expensive and time-consuming litigation.

See Bass v. Phoenix Seadrill/78, Ltd., 749 F.2d 1154, 1164 (5th Cir. 1985); Manchaca v. Chater,

927 F. Supp. 962, 966 (E.D. Tex. 1996). Absent fraud or collusion, trial courts should be hesitant to

substitute their own judgment for the judgment of counsel in arriving at a settlement. Cotton, 559

F.2d at 1330.



2
  In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en banc), this court adopted as binding
precedent all decisions of the former Fifth Circuit handed down prior to October 1, 1981.

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IV.    MEMORANDUM OF LAW

       A.      The Proposed Settlement Should Be Approved Because It Satisfies the Test for
               Fairness, Reasonableness, and Adequacy

        The Eleventh Circuit Court of Appeals uses a six-factor test for assessing the fairness,

reasonableness, and adequacy of a class settlement. The factors are: (a) whether the settlement

was a product of fraud or collusion; (b) the complexity, expense, and likely duration of the

litigation; (c) the stage of the proceedings and the amount of discovery completed; (d) the point

on or below the range of possible recovery at which a settlement is fair, adequate and reasonable;

(e) the possible range of recovery and the certainty of damages; and (f) the respective opinions of

the participants, including class counsel, class representatives, and absent class members. See

Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir. 1984), citing 1982–2 Trade Cas. at 72,

106, citing, inter alia, Container II, 643 F.2d at 207–08; Cotton v. Hinton, 559 F.2d at 1330–31;

Miller v. Republic National Life Insurance Co., 559 F.2d 426, 428–29 (5th Cir.1977).

Consideration of these factors indicates that the proposed settlement in this case is fair, adequate,

and reasonable and that preliminary approval of the settlement should be granted.

            1. The Settlement Agreement Is Not the Product of Fraud or Collusion.

       In assessing this factor, courts must presume that no fraud or collusion occurred unless there

is evidence to the contrary. DeHoyos v. Allstate Corp., 240 F.R.D. 269, 287 (W.D. Tex. 2007).

There is no evidence of fraud or collusion here. The proposed settlement in the Agreement resulted

from arm’s length negotiations between Coles and Defendants conducted by capable, experienced

attorneys and with the assistance of a mediator. Settlement discussions and steps related to potential

settlement took place over an extended time period spanning approximately eighty-seven (87) days

following litigation and certification of the class by the Court. During this process, the parties

thoroughly evaluated their claims and defenses in order to negotiate what they believe is the most

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optimal settlement on behalf of the settlement class.

        The absence of fraud and collusion is evidenced by a settlement reached after several

months of litigating and two mediation sessions. Additionally, there is no evidence that Coles

sacrificed the interests of the Settlement Class for his own financial gain. Under the Agreement,

Coles will receive the same settlement payment as the other members of each Settlement Class.

And, he only requests a modest service award of FOUR THOUSAND DOLLARS AND NO/100

($4,000.00).

        The proposed settlement reached by Coles and Defendants resulted from concessions and

compromise by the parties. The Agreement is a product of the functioning of the adversarial and

negotiations processes, not fraud or collusion. Accordingly, the first factor supports approval of the

settlement.

              2. Litigating this Case Through Trial Would Be Complex, Expensive, and Time-
                 Consuming.

        Although the total expenses that the parties will incur if this litigation progresses and the

duration of the litigation, including the appellate process, cannot be predicted with certainty, Coles

and Defendants will vigorously advocate for their respective positions on various legal and factual

issues that will likely entail significant motion practice. Defendants deny liability for any willful

violations of the FCRA and asserted numerous affirmative defenses to Coles’ individual and alleged

class claims.

        Furthermore, the parties will incur significant expenses for decertification and likely appeal

of the certification of the class; two issues where Coles and Defendants’ positions differ. Trial and a

potential of post-trial appeals further increases the costs and delay of litigation.

        There is no reason to believe that issues raised before, during, or after a trial would be any

less vigorously litigated by the parties or less expensive and time-consuming to resolve. Absent

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settlement, the resolution of factual issues relevant to each class member’s claims would result in

protracted litigation. The proposed settlement will save considerable time and resources that would

otherwise be spent litigating disputes resolved by the proposed settlement. Thus, this factor weighs

in favor of approving the settlement proposed in the Agreement. See Bennett, 737 F.2d at 986 (“In

addition, our judgment is informed by the strong judicial policy favoring settlement as well as by

the realization that compromise is the essence of settlement.”); Ayers v. Thompson, 358 F.3d 356,

2369 (5th Cir. 2004) (holding that settlement would avoid risks and burdens of potentially

protracted litigation weighed in favor of approving settlement).

           3. Settlement Class Counsel Has Documents and Other Information to Realistically
              Value the Claims.

       The parties possess “ample information with which to evaluate the merits of the competing

positions.” Ayers, 358 F.3d at 369. Coles and Defendants cooperated in exchanging documents and

information sufficient to allow a well-informed and comprehensive settlement of the Class.

Defendants reviewed its records for the relevant time period and determined that the Class consists

of 541 individuals, including Coles. Defendants provided this information to Coles who had the

opportunity by third-party discovery to obtain its own information from related to the Class.

Defendants also identified and produced copies of the documents, policies, and procedures that

pertain to the allegations in the Complaint.

       In addition to this exchange of documents and information, the parties have extensively

analyzed legal authorities regarding FCRA claims on a nationwide basis. Counsel for the parties

have discussed their claims and defenses with each other.

       As such, the parties believe that they have sufficient information to reach a fair, reasonable,

and adequate settlement. The Agreement was negotiated based on the parties’ realistic, independent

assessments of the merits of the claims and defenses in this case and should be approved.

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            4. Ultimate Success on the Merits of the Claims Is Uncertain Given the Risks of
               Litigation.

        When evaluating a proposed class action settlement, the court must balance the benefits of a

certain and immediate recovery through settlement against the inherent risks of litigation.        See

Bennett, 737 F.2d at 986; Reed v. General Motors Corp., 703 F.2d 170, 172 (5th Cir. 1983). Here,

recovery under the Agreement is favorable for the 541 Class members given the general uncertainty

surrounding all litigation and the risks specific to this case.

        If this litigation proceeds, Defendants intend to continue to vigorously defend the claims,

and Coles and the settlement class will face legal challenges by Defendants, including challenges to

merits of their claims, decertification, and an appeal on class certification. Because the parties have

reached an early settlement, Coles has not prevailed on class certification and summary judgment.

Any one of these challenges could significantly prolong the litigation at considerable expense to the

parties and potentially result in no recovery for the class members. Each of these phases of

litigation presents uncertainty and risks, which the settlement allows the parties to avoid.

        Without this settlement, in order for members of the settlement classes to recover any

statutory damages under the FCRA, they must not only prove that Defendants failed to comply with

the disclosure and authorization provisions, but also that Defendants did so willfully. See 15 U.S.C.

§ 1681n(a). Although Coles contends that the violations were willful, Defendants will contest the

question of willfulness if the lawsuit is further litigated. And, absent the settlement, continued

certification under the current class definition is not certain. Although Defendants deny liability and

has asserted affirmative defenses to the claims, Defendants nevertheless recognize, as Coles does,

the risks inherent in proceeding to trial.

        A negotiated settlement that provides immediate relief is preferable to protracted litigation

and an uncertain result in the future. Weighed against the risks associated with litigation, the

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proposed settlement is fair, reasonable, and adequate.

             5. The Settlement Agreement Is Fair in Light of the Possible Range of Recovery and
                Certainty of Damages.

         The Agreement should be approved because the proposed settlement compares favorably to

the limited range of damages available under the FCRA that could potentially be recovered at trial.

In his Complaint, Coles seeks to recover compensation under 15 U.S.C. § 1681n(a)(1)(A), (2), and

(3) for himself and the other class members consisting of (a) statutory damages of not less than

$100.00 and not more than $1,000.00; (b) punitive damages, (c) attorneys’ fees and costs.3

However, as Section 1681n(a) of the FCRA indicates, proof of noncompliance with the technical

requirements of the FCRA alone does not impose liability on a defendant. Recovery of damages

under Section 1681n(a) is contingent on establishing that the defendant willfully failed to comply

with the FCRA; negligent noncompliance is not sufficient. Safeco v. Burr, 127 S. Ct. 2201, 2215

(2007); 15 U.S.C. § 1681n(a). And, even if liability for willful noncompliance is established as

Coles believes, the determination as to the size of the award is left to the discretion of the jury,

which may return an award of no damages as a possible outcome.

         The settlement proposed in the Agreement secures a monetary payment of to each member

of the Class in the approximate amount of $318.85 before administration expenses and attorneys’

fees. After administration expenses and attorneys’ fees are deducted, each member of the Class will

receive $185.00 or more, depending on the final number of class members, since the Settlement

Fund will be distributed pro rata to class members. A settlement check in this approximate amount

is a reasonable and comparable sum of money to be paid in a class action under the FCRA. Even if

3
 Section 1681(n)(a) of the FCRA states that a person who willfully fails to comply with any requirement under 15
U.S.C. § 1681 et seq. regarding a consumer is liable to the consumer in an amount equal to the sum (a) “any actual
damages sustained by the consumer as a result of the failure or damages of not less than $100 and not more than
$1,000;” (b) punitive damages in such amount as the court may allow; and (c) the costs of an action, if successful, to
enforce liability under this Section plus reasonable attorneys’ fees as determined by the court. 15 U.S.C.
§ 1681n(a)(1)(A), (2)-(3) (emphasis added).

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the settlement class established liability against Defendants for willful violations of the pertinent

provisions of the FCRA, a real risk exists that the class members could recover less after

successfully litigating their claims through trial than the payment negotiated by the parties in the

Agreement.

       Settlement Class Counsel believes that the proposed minimum payment of approximately

$185.00 to each member of the Class is an excellent settlement, providing more relief to class

members than other recently approved settlements. See, e.g., Marcum v. Dolgencorp, Inc.; No.

3:12-cv-00108 (E.D. Va. 2014) ($53 gross payment per class member reduced by attorneys’ fees

and service awards paid from class settlement fund); Knights v. Publix Super Markets, Inc.; No.

3:14-cv-006720 (M.D. Tenn. 2014) ($48.55 paid to each class member); Pitt v. Kmart Corp., No.

3:11-cv-00697 (E.D. Va. 2013) ($18 or $38 received by class members depending on date of FCRA

violation); Graham v. Pyramid; No. 8:16-cv-1324 (M.D. Fla. 2017) ($100 paid to each class

member).

       The settlement proposed in the Agreement falls within the reasonable range of possible

recovery for members of the settlement classes. “A proposed settlement need not obtain the largest

conceivable recovery for the class to be worthy of approval; it must simply be fair and adequate

considering all the relevant circumstances.” Klein v. O’Neal, Inc., 705 F. Supp. 2d 632, 649 (N.D.

Tex. 2010). Balancing the risk that liability cannot be established against Defendants for willful

violations of the disclosure and authorization notice provisions of the FCRA against the range of

possible recovery of damages supports settlement.

           6. Settlement Class Counsel and the Parties Support the Settlement.

       As evidenced by the Agreement itself and this Motion in which the parties jointly request

approval of the settlement, the terms of the settlement as proposed have the obvious support of


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 Coles, Settlement Class Counsel, and Defendants. Coles and Defendants believe, based on their

 independent assessments that settlement is in their respective best interest. Coles and Settlement

 Class Counsel have likewise concluded that the proposed settlement is in the best interest of the

 Class.

          Furthermore, the parties anticipate that the settlement will receive broad support from

 putative class members, especially considering that each individual member will receive a

 settlement check that is reasonable and consistent in the context of class action litigation. Even if

 applicants in the settlement classes were able to overcome the difficulties of financing and finding

 legal counsel to pursue their relatively small individual claims, few members of the settlement

 classes are likely to be inclined toward pursuing their individual claims.

          Therefore, it is unlikely that settlement class members will oppose releasing their pertinent

 FCRA claims that in reasonable probability they never intended to bring, or were unaware to have

 possessed. Even if any putative class member does not agree with the terms of the proposed

 settlement, he or she is protected by the right to opt out of the proposed class settlement and retain

 his or her individual FCRA claims against Defendants rather than participating in the settlement.

          The parties believe that the Agreement represents a fair, reasonable, and adequate

 settlement. Consequently, the support of Coles, Settlement Class Counsel, the putative class

 members of each settlement class, and Defendants weighs in favor of approving the settlement.

          B.     The Notice of Class Action Settlement Should Be Approved Because the Form
                 and Manner of Each Notice Satisfies the Requirements of Rule 23 and Due
                 Process.

          The Notice of Proposed Class Action Settlement to be mailed to the Settlement Class is

 appended to the Agreement as Exhibit A. See Ex. 1, Agreement, Ex. A. The content of the

 proposed class notice and the method for notifying members of each settlement class satisfy the



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 requirements of Federal Rules of Civil Procedure 23(c)(2)(B) and (e)(1) and comport with due

 process.

        Under Rule 23(e)(1), when approving a class action settlement, the court “must direct notice

 in a reasonable manner to all class members who would be bound by the proposal.” Fed. R. Civ. P.

 23(e)(1). In addition, for classes certified under Rule 23(b)(3), courts “must direct to class members

 the best notice that is practicable under the circumstances, including individual notice to all

 members who can be identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). Rule

 23(c)(2)(B) also sets out the required contents of the class notice. Id. The procedures described in

 the Agreement for informing class members of the settlement and the Notice of Proposed Class

 Action Settlement comply with these Rules.

        The proposed notice plan is reasonable and provides the best notice practicable to the

 respective settlement classes. Under the Agreement, the Notice of Proposed Class Action Settlement

 will be sent to each class member via first class mail to the last known addresses of class members

 based on information contained in Defendants’ records or obtained by the third-party Settlement

 Administrator. See Ex. 1, Agreement. Notice by mail is recognized as sufficient to provide due

 process to known affected persons as long as the notice is “reasonably calculated . . . to apprise

 interested parties of the pendency of the action and afford them an opportunity to present their

 objections.” DeHoyos, 240 F.R.D. at 296 (sending notice by mail is preferred when all or most

 class members can be identified).      The Agreement also includes provisions to ensure that a

 reasonable effort is made to locate members whose notices are returned undelivered and to re-send

 the Notice of Proposed Class Action Settlement to these persons to the extent possible. See Ex. 1,

 Agreement.

        Additionally, the Agreement provides for the creation of an internet site which will make



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 available all of the relevant pleadings and settlement documents, and will be administered by a

 third-party Settlement Administrator selected by the parties and paid from separately allocated

 funds in the Settlement Fund. See Ex. 1, Agreement.

         The content of the Notice of Proposed Class Action Settlement satisfies Rule 23(c)(2)(B)

 and due process requirements. “A settlement notice need only satisfy the broad reasonableness

 standards imposed by due process.” In re Katrina Canal Breaches Litigation, 628 F.3d 185, 197

 (5th Cir. 2010). Due process is satisfied if the notice provides class members with “information

 reasonably necessary for them to make a decision whether to object to the settlement.” Id.

         The Notice of Proposed Class Action Settlement is written in language that is easy to

 understand. The Notices inform members of the Class of the nature of the case, the definition of the

 settlement class, and the claims and defenses. The Notices of Proposed Class Action Settlement also

 contain information regarding the right to retain their own attorney, their right to request exclusion

 from the class, the time and manner for requesting exclusion, and the binding effect of the class

 judgment. See Ex. 1, Agreement, Ex. A, Notice; see also Fed. R. Civ. P. 23(c)(2)(B). Because the

 Notice of Proposed Class Action Settlement communicates the essential terms of the proposed

 settlement in a manner that complies with Rule 23(c)(2)(B) and due process, the Court should

 approve its distribution to the respective settlement classes.

 V.      CONCLUSION

         The Court should approve the Agreement on a preliminary basis because the proposed

 settlement is fair, reasonable, and adequate. Certification of the Class; the appointment of Coles as

 Settlement Class Representative; appointment as Settlement Class Counsel; and attorneys’ fees and

 costs are appropriate under Rule 23 for settlement purposes. The Notice of Proposed Class Action

 Settlement should be approved for distribution to the Settlement Class because it meets the



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 requirements of Rule 23 and due process.

         WHEREFORE, PREMISES CONSIDERED, Plaintiff Derrick Coles, for himself and on

 behalf of all others similarly situated, and Defendants StateServ Medical of Florida, LLC, The

 StateServe Companies, LLC, and StateServ Medical LLC request that the Court grant their

 Motion and enter an Order of preliminary approval. Coles and Defendants request such other and

 further relief, at law or in equity, to which they may be justly entitled.


 DATED this 15th day of December, 2017.

 Respectfully submitted,                            Respectfully submitted,

 /s/ Marc R. Edelman                                /s/ Geddes D. Anderson, Jr.
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 DERRICK COLES
                                                    ATTORNEY FOR DEFENDANTS




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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 15, 2017, I electronically filed the foregoing

 with the Clerk of the Court by using the CM/ECF system which will send a notice of electronic

 filing to all parties of record.


                                                /s/ Geddes D. Anderson, Jr.
                                                Attorney




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